         Case 3:07-cr-00634-JAJ-TJS Document 8 Filed 03/12/08 Page 1 of 2


                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )        Criminal No.
                                              )
               v.                             )
                                              )
ANDRELL THOMAS SANDERS                        )       SUPERSEDING
      aka Q,                                  )       INDICTMENT
CHRISTOPHER JAMES MCGEE, and                  )       T. 21 U.S.c. § 841(a)(1)
JULIUS RYAN SHARKEY,                          )       T. 21 U.S.c. § 841(b)(1)(A)
                                              )       T. 18 U.S.c. § 2
               Defendants.                    )


THE GRAND JURY CHARGES:

                                          COUNT I
                                (Conspiracy to Distribute Drugs)

       From a date unknown to the Grand Jury, but beginning by on or about October 23,2006,

and continuing to on or about February 7,2008, in and about Johnson County in the Southern

District ofIowa, and elsewhere, the defendants, ANDRELL THOMAS SANDERS, aka Q,

CHRISTOPHER JAMES MCGEE, and JULIUS RYAN SHARKEY, did knowingly and

intentionally conspire with each other and other persons known and unknown to the Grand Jury

to knowingly distribute at least 50 grams of a mixture and substance containing cocaine base,

a.k.a. "crack" cocaine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Section 841(a)(1).

       This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 846 and 841(b)(1)(A).
                   Case 3:07-cr-00634-JAJ-TJS Document 8 Filed 03/12/08 Page 2 of 2



                                               COUNT 2
                                  (Possession with Intent to Distribute)

          On or about July 7,2007, in and about Johnson County in the Southern District ofIowa,

the defendants, ANDRELL THOMAS SANDERS, aka Q, and CHRISTOPHER JAMES

MCGEE, did knowingly and intentionally possess with intent to distribute at least 50 grams of a

mixture and substance containing cocaine base, a.k.a. "crack" cocaine, a Schedule II controlled

substance.

         This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 841(a)(l) and 841(b)(I)(A).



                                               COUNT 3
                                  (Possession with Intent to Distribute)

         On or about February 7,2008, in and about Johnson County in the Southern District of

Iowa, the defendant, JULIUS RYAN SHARKEY, did knowingly and intentionally possess with

intent to distribute at least 50 grams of a mixture and substance containing cocaine base, a.k.a.

"crack" cocaine, a Schedule II controlled substance.

        This is a violation of Title 18, United States Code, Section 2, and Title 21, United States

Code, Sections 841(a)(l) and 841(b)(I)(A).

        A TRUE BILL.

                                                                 !~/
                                                           FOREPERSON
        Matthew G. Whitaker
        United States Attorney


  By:   :..,::/s:!...../                               _


        Melisa Zaehringer
        Special Assistant United States Attorney
